Case 1:24-cv-01276-RLY-KMB Document 1 Filed 07/29/24 Page 1 of 15 PageID #: 1




                                               1:24-cv-01276
Case 1:24-cv-01276-RLY-KMB Document 1 Filed 07/29/24 Page 2 of 15 PageID #: 2
Case 1:24-cv-01276-RLY-KMB Document 1 Filed 07/29/24 Page 3 of 15 PageID #: 3
Case 1:24-cv-01276-RLY-KMB Document 1 Filed 07/29/24 Page 4 of 15 PageID #: 4
Case 1:24-cv-01276-RLY-KMB Document 1 Filed 07/29/24 Page 5 of 15 PageID #: 5
Case 1:24-cv-01276-RLY-KMB Document 1 Filed 07/29/24 Page 6 of 15 PageID #: 6
Case 1:24-cv-01276-RLY-KMB Document 1 Filed 07/29/24 Page 7 of 15 PageID #: 7
Case 1:24-cv-01276-RLY-KMB Document 1 Filed 07/29/24 Page 8 of 15 PageID #: 8
Case 1:24-cv-01276-RLY-KMB Document 1 Filed 07/29/24 Page 9 of 15 PageID #: 9
Case 1:24-cv-01276-RLY-KMB Document 1 Filed 07/29/24 Page 10 of 15 PageID #: 10
Case 1:24-cv-01276-RLY-KMB Document 1 Filed 07/29/24 Page 11 of 15 PageID #: 11
Case 1:24-cv-01276-RLY-KMB Document 1 Filed 07/29/24 Page 12 of 15 PageID #: 12
Case 1:24-cv-01276-RLY-KMB Document 1 Filed 07/29/24 Page 13 of 15 PageID #: 13
Case 1:24-cv-01276-RLY-KMB Document 1 Filed 07/29/24 Page 14 of 15 PageID #: 14
Case 1:24-cv-01276-RLY-KMB Document 1 Filed 07/29/24 Page 15 of 15 PageID #: 15
